Case 17-06078-MM7           Filed 05/02/18    Entered 05/02/18 06:35:22         Doc 254     Pg. 1 of 27




Stephen    c. Hinze (SBN 131787)
Stephen    c. Hinze Attorney At Law, APC
100 E. San Marcos Blvd. Suite 400
San Marcos, CA 92069
Tele : (760) 589-0705


Attorney For Debtor and Debtor in
Possession



                                    UNITED STATES BANKRUPTCY COURT
                                SOUTHERN        DISTRICT OF       CALIFORNIA


IN . RE.                                                          Case No. : 2017-6078-MM7



CORE SUPPLEMENT TECHNOLOGY, INC.                                  FINAL REPORT AND
                                                                  ACCOUNT
            Debtor and Debtor in Possession                       [FRBP 1019(5)(A)(ii)]


                                                                  Conversion order date
                                                                  4/2/2018



CORE SUPPLEMENT TECHNOLOGY, INC. debtor and deptor in possession respectufully submits
its Final Report and Account after conversion pursuant to FRBP 1019(5)(A)(ii)




                                                                  Stephen   c. Hinze, Attorney At
                                                                  Law APC



                                                                 Ait'---c.C. / L.-
                                                                  By : Stephen   Hinze Attorney
                                                                  for Debtor and Debtor in
                                                                  Possession
  Case 17-06078-MM7        Filed 05/02/18     Entered 05/02/18 06:35:22       Doc 254      Pg. 2 of 27




SCHEDULE I:  Disposition of Asets


                                                              Status and Location of 
                                                              Property (Including 
    Asset Description (Scheduled and            Petition / 
                                                              Information on Disposal, if 
         Unscheduled Property)              Unscehduled Value
                                                              Property is Currently not 
                                                              Property of the Estate)
Cash                                       $1,818,343.54           Tendered to Chapter 7 Trustee
All equipment, tools, machinery, and 
office furniture owned by Debtor, 
whether or not subject to a security 
interest (the "Owned Equipment"), 
                                             Estimated $520,000    Sold to Simpson Labs, LLC on 
including without limitation the specific 
                                             to $902,000           3/27/18 
items detailed in Exhibit "A" hereto. To be 
clear, none of the equipment that is 
subject to a secured interest held by 
Berlin Packaging, LLC is included. 
                                                                   Property of Estate subject to 
                                                                   security interest of Berlin 
Cremer CF1230 Channel Counter              Petition $4,000         Packaging, LLC, Last known 
                                                                   location 4645 North Ave., 
                                                                   Oceanside, CA
                                                                   Property of Estate subject to 
                                                                   security interest of Berlin 
Spindle Capper w/ 6 spindles               Petition‐$16000         Packaging, LLC, Last known 
                                                                   location 4645 North Ave., 
                                                                   Oceanside, CA
                                                                   Property of Estate subject to 
                                                                   security interest of Berlin 
Heat Tunnel                                Petition ‐ $200         Packaging, LLC, Last known 
                                                                   location 4645 North Ave., 
                                                                   Oceanside, CA
                                                                   Property of Estate subject to 
                                                                   security interest of Berlin 
Fork Lift CAT Reach lb                     Petition‐$2,500         Packaging, LLC, Last known 
                                                                   location 4645 North Ave., 
                                                                   Oceanside, CA
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                                                                  Property of Estate subject to 
                                                                  security interest of Berlin 
Pharmafill Cottoner CS1 U072112‐            Petiton ‐ $3,000      Packaging, LLC, Last known 
                                                                  location 4645 North Ave., 
                                                                  Oceanside, CA
                                                                  Property of Estate subject to 
                                                                  security interest of Berlin 
CVC 300C Wrap Labeler                       Petition ‐ $6,000     Packaging, LLC, Last known 
                                                                  location 4645 North Ave., 
                                                                  Oceanside, CA
                                                                  Property of Estate subject to 
                                                                  security interest of Berlin 
Lepel CSplus200 Induction Sealer            Petition‐ $3000       Packaging, LLC, Last known 
                                                                  location 4645 North Ave., 
                                                                  Oceanside, CA
                                                                  Property of Estate subject to 
                                                                  security interest of Berlin 
Packaging Pallet Wrapper                    Petition ‐ $1,000     Packaging, LLC, Last known 
                                                                  location 4645 North Ave., 
                                                                  Oceanside, CA
                                                                  Property of Estate subject to 
                                                                  security interest of Berlin 
Double Cone Blender                         Petition ‐ $50,000    Packaging, LLC, Last known 
                                                                  location 4645 North Ave., 
                                                                  Oceanside, CA
Estimated Value of Property subject to 
secured claim of Berlin (Management's             $89,700.00
Estimate).
                                                                  Property leased to Estate by 
FTIR QC Machine                             Petition ‐ $3,000
                                                                  Thermo Fisher
CHUCK CAPPER MACHINE NRS51 System; 
additional oversized push through cap 
trap; additional oversized 1st station push                       Property leased to Estate by 
trough chuck; additional oversized 2nd       Petition ‐ $40,000   Provodince Capital Funding, 
station torqueing chuck, Misapplied cap                           Inc./ LCA
reject system; Integrated Capper 
Conveyor.
Metal Detector TOUCH SCREEN  System; 
SANICON Hybrid Angle‐Tube Stainless                               Property leased to Estate by 
Steel Conveyor; Casters; reject table;       Petition ‐ $15,000   Provodince Capital Funding, 
reject table loxk box cover; alarm and                            Inc./ LCA
light; Touch Screen
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                                                                       Property leased to Estate by 
ZANASI F40 ENCAPSULATOR                       Petiton ‐ $20,000        Provodince Capital Funding, 
                                                                       Inc.
                                                                       Property leased to Estate by 
ZANASI 40F ENCAPSULATOR                       Petition ‐ $22,000       Provodince Capital Funding, 
                                                                       Inc.
                                                                       Property leased to Estate by 
Single head chuck capper w/water              Petiton ‐ $40,000        Provodince Capital Funding, 
                                                                       Inc.
                                                                       Property leased to Estate by 
IMAGE 4000 DUAL HEAD FILLER/W                 Petition ‐ $100,000      Provodince Capital Funding, 
                                                                       Inc.
                                                                       Property leased to Estate by 
CVC 310 WRAP LABELER                          Petition ‐ 19,000        Provodince Capital Funding, 
                                                                       Inc.
                                                                       Property leased to Estate by 
DUST COLLECTOR  MODEL DFE3‐12 W/              Petiton‐ $50,000         Provodince Capital Funding, 
                                                                       Inc.
                                                                       Property leased to Estate by 
TEAR DROP STYLE PALLET RACKS                  Petition ‐ $8,000        Provodince Capital Funding, 
                                                                       Inc.
The Debtor's supplies. See Exhibit "B"        Petition ‐ included in  Sold to Simpson Labs, LLC on 
attached hereto.                              inventory                3/27/18 
                                              Petition ‐ $536,252 
                                              Tiger Secondary 
The Debtor's Inventory. See Exhibit "C"                                Sold to Simpson Labs, LLC on 
                                              Market Estimate   
attached hereto.                                                       3/27/18 
                                              $15,000 ‐$20,000 
                                              *(Fn.1)
The Debtor's vehicles listed on Exhibit "D"                            Sold to Simpson Labs, LLC on 
                                              Petition ‐ $31,914
attached hereto                                                        3/27/18 
                                              Petition ‐ 0            
The Debtor's interest in its subsidiary. See  Tiger Secondary          Sold to Simpson Labs, LLC on 
Exhibit E attached hereto                     Market Est.  $5,000‐ 3/27/18 
                                              $7,000
The Debtor's Intellectual Property. See                                Sold to Simpson Labs, LLC on 
                                              Petition ‐ 0
Exhibit "F" attached hereto.                                           3/27/18 
The Debtor's orders. See Exhibit "G"                                   Sold to Simpson Labs, LLC on 
                                              Petition ‐ 0
attached hereto.                                                       3/27/18 
                                              Tiger Secondary 
The Debtor's accounts receivable. See         Market Value             Sold to Simpson Labs, LLC on 
Exhibit "H" attached hereto.                  estimated to be          3/27/18 
                                              $125,000
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Refund on Workers Comp Policy                    TBD                                Subject to audit

Debtors Interest in rental security deposit 
held by Wade Prescott, Chip Prescott, 
Bonnie Prescott, & Rena Patnode                  
                                                               Petition ‐ $30,000   Held by Lessor
3011 Deeb Court                                               
Vista CA 92084

Debtors Interest in rental security deposit 
held by Rancho Claifornia Center, LP            
dba North View Business Center                    
1656 Bahia Vista Way                                       Petition ‐ $22,730.92 Held by lessor
La Jolla CA 92037




*fn1‐  Tiger asset review and estiamate of Secondary Market Values:  Page 6 summary:
Simpson Equipment List 501 items $375K ‐ $750K; Non Simpson Equipment‐$140K ‐ $200K;
A/R $125K; Bulk packaging and invenoty‐$15k ‐ $20K; Life Brands Inventory: $5k‐$7K
(a true and accurate copy is attache as Exhibit A)
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     In. re.: Core Supplement Technology                                                                Case No 17‐6078MM7        
                                            Schedule II‐ Post Petition Creditors
Name and Address                                       Claim Type        Disputed Amount Due 
Alkemist Laboratories                                  Trade Claim 
1260 Logan Ave. #B2                                    Administrative
                                                                                                   $500.00
Costa Mesa, CA 92626

Ally                                                        PO  Loan Arrearage 
Box 9001948                                                  Administrative
Louisville, KY 40290‐1948                                                                   $1,442.07


Aramark                                                Aus  Trade Claim 
West Lockbox                                                Administrative
PO Box 101179                                                                               $2,847.36
Pasadena, CA 91189‐1179  

Ascentium Capital                                     Trade Claim 
23970 Highway 59 North                            Administrative
                                                                                            $5,001.60
Kingwood, TX 77339‐1535                         

AT&T                                                            Utilities 
PO Box 537104                                              Administrative
                                                                                             $458.94
Atlanta, GA 30353

AT&T Mobility                                              Utilities 
PO Box 537104                                              Administrative
                                                                                             $45.11
Atlanta, GA 30353

Bank of Americ                                              Secured Loans
J. Allex Rhim Esq.                                         
C/O Hemar Russo & Heald, LLP                 
                                                                                                TBD 
15910 Ventura Blvd., 12th Floor               
Encino, CA 91436

Business Copier Solutions                         Trade Claim 
13750 Danielson Street                               Administrative
                                                                                             $89.28
Poway, CA 92064

Berlin Packaging, LLC                                      Trade Claim 
Brian J. Jackiw, Esq.                                      Administrative
c/o Goldstein & McClintock                                                                  $2,273.92
111 West Washington, Suite 1221
Chicago, IL 60602
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       In. re.: Core Supplement Technology                                                                Case No 17‐6078MM7        
                                                     Schedule II‐ Post Petition Creditors
Berlin Packaging, LLC                     Brian  Loan Arrearage 
J. Jackiw, Esq.                                                Administrative
c/o Goldstein & McClintock                                                                         $12,520.89
111 West Washington, Suite 1221
Chicago, IL 60602
Batory Foods                                                Trade Claim 
PO Box 80047                                          Administrative
                                                                                                        $0.17
City of Industry, CA 91716‐8047

California Choice                                         Insurance
721 South Parker, Suite 200             
                                                                                             $5,243.01
Orange, CA 92868

City of Oceanside                                      Utilities 
300 North Coast Highway                                Administrative
                                                                                             $3,181.72
Oceanside, CA 92054

City of Oceanside                                       Business Lisc.
300 North Coast Highway              
Oceanside, CA 92054                                                             X            $7,205.05


Corporate Recovery Associates,                         Professional Fees 
LLC"3830 Valley Centre Dr.                         Administrative  
PMB 705‐152                                                                                 $51,600.00
San Diego, CA 92130

Cox Business                                               Utilities 
5159 Federal Blvd.                                         Administrative
                                                                                              $850.00
San Diego, CA 92105

Covance Laboratories, Inc.                              Trade Claim 
2102 Wright St.                                         Administrative
Madison, WI 53704                                                                              $63.30


Data Resolution                               29222  Trade Claim 
Rancho Viego Rd.,                   Suite 107     Administrative
San Juan Capistrano, CA 92675                                                                $1,365.00
  Case 17-06078-MM7 Filed 05/02/18 Entered 05/02/18 06:35:22 Doc 254 Pg. 8 of 27
     In. re.: Core Supplement Technology                                                                Case No 17‐6078MM7        
                                                     Schedule II‐ Post Petition Creditors
Dyad Labs                                                 Trade Claim 
391 South Orange St,                          Salt  Administrative
                                                                                                  $1,910.00
Lake City, UT 84104

Eurofins Scientific, Inc.                           Trade Claim 
2200 Rittenhouse St. Ste 175                     Administrative
                                                                                             $527.00
Des Moines, IA 50321

FedEx                                                       PO  Trade Claim 
box 7221                                                       Administrative
                                                                                            $2,621.12
Pasadena, CA 91109‐7321

FedEx Freight                                           Trade Claim 
Dept LA                                                   PO  Administrative
                                                                                            $9,045.91
Box 21415                                                
Pasadena, CA 91185‐1415
Financial Pacific Leasing                                     Lease Arrerage 
c/o CT Lien Solutions                               Administrative
2727 Allen Parkway, Suite 1000                                                             $21,246.40
Houston, TX 77019

Fox Rothschild, LLP                                 Professional Fees 
Attn: Mette Kurth                                         Administrative  
919 North Market Street, Suite 300         
                                                                                          $132,734.50
PO Box 2323                                    
Willmington, DE 19899‐2323

George Nutting Company, Inc.                 Trade Claim 
PO Box 8                                             Administrative
                                                                                             $442.00
Bainbridge, GA 39818

Holmes Landscape Company                                    Trade Claim 
4616 North Ave.                                             Administrative                  $1,803.64
Oceanside, CA 92056
JJJ Enterprises                                       PO    Trade Claim 
Box 463021                                                  Administrative
                                                                                             $105.00
Escondido, CA 92046

Kelly Services                                      P.O.  Trade Claim 
Box 31001‐0422                                            Administrative
                                                                                             $223.51
Pasadena, CA 91110‐0422
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     In. re.: Core Supplement Technology                                                                Case No 17‐6078MM7        
                                                 Schedule II‐ Post Petition Creditors
Konica Minolta                                         Lease Arrerage 
PO Box 100706                                           Administrative
Pasadena, CA 91189‐0706                                                                            $208.33


LCA Bank Corporation                            Lease Arrerage 
PO Box 1650                                               Administrative
                                                                                           $11,111.32
Troy, MI 48099‐1650

Stephen C. Hinze Attorney At Law, APC   Professional Fees 
100 E. San Marcos Blvd. Suite 400          Administrative  
                                                                                          $127,947.92
San Marcos, CA 92069

Logistics Fox                                              Trade Claim 
7461 Garden Grove Blvd., Unit A                            Administrative
                                                                                            $1,846.99
Garden Grove, CA 92841

Mayfield Bustarde, LLP                           Professional Fees 
462 Stevens Ave., Suite 303                        Administrative  
                                                                                           $14,090.21
Solana Beach, CA 92075

Marlin Business Bank                      6470  Loan Arrerage  
E. Johns Crossing                               Administrative
Deluth, GA 30097                                                               x            $6,416.86


Marlin Business Bank                              
300 Fellowship Road                                   
Mount Laurel, NJ 08054                                                                  Additional Notice 


MJB Freight Systems, Inc.                       Trade Claim 
6225 Marindustry Dr.                                  Administrative
                                                                                            $1,604.52
San Diego, CA 92121

Micro Quality Labs, Inc.                                   Trade Claim 
3120 N. Clybourn Ave.                                      Administrative
                                                                                            $7,145.00
Burbank, CA 91505

Markem‐Image Corp.                          PO  Trade Claim 
Box 3542                                         Boston,  Administrative
                                                                                             $171.50
MA 02241
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                                                                     27
       In. re.: Core Supplement Technology                                                                Case No 17‐6078MM7        
                                                    Schedule II‐ Post Petition Creditors
National Measures                                          Trade Claim 
Airlite Plastics                                    Attn:  Administrative
Shona Flack                                6110 
                                                                                                    $1,484.00
Abbott Dr. 
Omaha, NE 68119

Ready Refresh by Nestle                             Trade Claim 
PO Box 856158                                       Administrative
Louisville, KY 40285‐6158                                                                     $174.53


Ontario Refrigeration                                Trade Claim 
635 S. Mountain Ave.                                 Administrative
Ontario, CA 91762                                                                             $665.00


Pacific IP                                             6920  Trade Claim 
Miramar Road, Ste 218                   San  Administrative
                                                                                             $1,118.00
Diego, CA 92121

Package All Corp.                                        Trade Claim 
PO Box 4105                                                  Administrative
                                                                                               $23.78
Rancho Cucamonga, CA 91729

Principal Group                                        Trade Claim                           $1,210.83
RS Hughes Co., Inc.                                    Trade Claim 
2575 Pioneer Ave, Ste 102                              Administrative
                                                                                               $20.19
Vista, CA 92081

San Diego Gas & Electric    8326                      Utilities 
Century Park Court                                    Administrative
                                                                                              $154.01
San Diego, CA 92123

Federal Express Corporate Services                     Trade Claim 
Regions Lockbox Services                               Administrative
c/o FedEx SenseAware                                                                         $1,108.00
Birmingham, AL 35287‐1926

Thermo Fisher Scientific                               Lease Arrerage 
168 3rd Ave.                                           Administrative
                                                                                             $1,127.52
Waltham, MA 02451‐7551
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     In. re.: Core Supplement Technology                                                                Case No 17‐6078MM7        
                                      Schedule II‐ Post Petition Creditors
Thermo  Electron North America LLC  Trade Claim 
1400 Northpoint Pkwy #50                   Administrative
West Palm Beach, FL 33407                                                                          $665.39


Untied Fire Group                                     Trade Claim 
118 Second Ave SE                                     Administrative
                                                                                             $820.00
Cedar Rapids, IA 52407‐3909

Unifirst                                                      Trade Claim 
4041 Market Street                                            Administrative
                                                                                            $2,221.28
San Diego, CA 92102

UPS                                                           PO  Trade Claim 
Box 1012                                                          Administrative
                                                                                             $361.42
Horsham, PA 19044

Wade Prescott, Chip Prescott, Bonnie  Lease Arrerage 
Prescott, & Rena Patnode                      Administrative
                                                                                           $33,716          
3011 Deeb Court                                          
                                                                                         Dep. ($30,000)
Vista CA 92084

Rancho Claifornia Center, LP                          Lease Arrerage 
dba North View Business Center                        Administrative
                                                                                         $44,843.90       
1656 Bahia Vista Way                                 
                                                                                       Dep. ($22,730.95)
La Jolla CA 92037
  Case 17-06078-MM7         Filed 05/02/18          Entered 05/02/18 06:35:22 Doc 254 Pg. 12 of
    In. re.: Core Supplement Technology                27                     Case No 17-6078MM7
                         Schedule III Post Petition Payments To Professionals
Name and Address of Professional           Amount Paid                Retainer / Fee Advance
Corporate Recovery Associates, LLC
3830 Valley Centre Drive; Suite 705-
152; San Diego, CA 92130                   $              23,870.94    $                       20,000.00




  I, Joseph O'Dea, past General Manager of the Debtor Core Supplement Technology, Inc., delare
under penalty of perjury under the law of the United States Of America that I have fuilly read and
understood the foregoing Final Report and Account and that the information contained herein
is true and correct to the best of my knowlegdge. _ _ ~

Date:   5/t /11    ,
                                           Jose
                                               /                           e;;'
                                                            ast General Manager
                                       /           incipal for Debtor in Possession

                                {/'
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                          Exhibit A
                    Tiger Valuation Report
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                             SALE PLAN
        Disposition Services in the matter of…
                Case 17-06078-MM7             Filed 05/02/18       Entered 05/02/18 06:35:22            Doc 254      Pg. 15 of
                                                                      27




Submitted:         March 19, 2018


Presented to:      Mette Kurth, Partner – Fox Rothchild
                   Richard Feferman - CRO
                   Corporate Recovery Associates, LLC

Presented by:     Michelle Salazar
                  Director Business Development
                  Tiger Commercial & Industrial
                  msalazar@tigergroup.com
                  214-893-4169
                  www.soldtiger.com

                  Chad Farrell
                  Managing Director
                  Tiger Commercial & Industrial
                  cfarrell@tigergroup.com
                  832-721-3937
                  www.soldtiger.com



The parties agree to keep this proposal and its terms confidential. In the event that the transactions contemplated by this proposal are not
consummated for any reason whatsoever, the parties hereto agree not to disclose or use any confidential information they may have concerning
the proposal or the affairs of the other parties, including the fact that the offer was made, the terms of the offer, customer lists and files, prices
and costs, and business and financial records.
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                                                                           27



March 19, 2018

Mette Kurth, Partner – Fox Rothchild
Richard Feferman - CRO
Corporate Recovery Associates, LLC
3830Valley Centre Drive; Suite 705-152
San Diego, CA 92130

Dear Mette:

On behalf of Tiger Commercial & Industrial, thank you for the opportunity to submit this proposal to assist with the sale of CORE Supplement
Technology’s equipment and inventory located in Oceanside, CA. We are confident that we can offer the most robust solution for the sale of these
assets while providing the following benefits:

 An expedited and multi-faceted sale process;
 Maximized top line revenues with an extensive global buyer reach and blend of sale platforms for your assets;
 Strong marketing capabilities, particularly to our internal database of buyers.

Thank you for the opportunity and we look forward to being of service. We can assure you that no other team will work with our level of diligence and
professionalism to maximize recovery for these assets.

Best Regards,




Michelle Salazar
Director Business Development
Tiger Commercial & Industrial




                                                                                                                                               SoldTiger.com
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 A History of Success
 Since 1974, Tiger’s principals have been helping stakeholders and creditors to maximize recoveries from the sale of enterprises and
 assets, pioneering and developing many of the sales strategies used in the industry today. From the creation of the first retail Going-Out-
 Of-Business format sale to the early adoption and evolution of today’s webcast auction strategies, and most recently, to the development
 of Tiger’s own Dual-Track Disposition Process, Tiger’s number one goal is to extract value from assets where others may not.

 Writing over 600 appraisals and selling over 50,000 assets each year, Tiger is known for its reliability and superior service amongst
 lenders, private equity firms, investment bankers and insolvency professionals throughout North America. What truly sets us apart,
 though, is our relentless commitment to creating solutions which achieve the highest and best results for our client.

 Every Tiger solution – including the one on the pages that follow - is uniquely crafted with tremendous emphasis placed on the
 development of a well planned sale strategy and thorough marketing campaign. The core of Tiger’s success, marketing approaches never
 rely on stale buyer lists and yesterday’s methods, but rather incorporate innovative tools and strategies to uncover untapped buyer markets
 and maximized recoveries. Meanwhile, strategies – from building the right team, to applying the right sale methodology – are developed
 based on decades of experience and a collective instinct for success.




1974                   1987                     1996 - 2001             2008                    2009                           2015

Creation of the        Introduction of a        Application of          Funding of the          Use of online                  Development of
first GOB format       buyers’ premium          early webcast           largest retail          only auctions to               the Dual Track
retail liquidation     to industrial            strategies to           liquidation in US       streamline the                 Disposition
sale                   sales                    monetize over           history                 sales of                       Process to put
                       defray costs to          $100 million of                                 hundreds of                    600 people back
                       our client               excess product                                  bank branches                  to work and
                                                                                                across the US                  maximize
                                                                                                                               creditor recovery


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Executive Summary
Subject Assets              Supplement Manufacturing Equipment, Inventory and Plant Support Equipment located in
                            Oceanside, CA
Sale Strategy               Event Driven Online Public Auction Sale                                                            Page 1

Sale Marketing              Social Media Campaigns, Email Campaigns, Trade Publications, Telemarketing, PR                     Page 2

Sale Terms                  Crafted to protect Seller’s interests                                                              Page 4

Sale Process / Timing       60 to 90 days (typical model; expedited or extended based on project needs)                        Page 5

Compensation                                                                                                                   Page 6
FEE STRUCTURE
       Commission           0%
       Expenses             $40,000

       Buyers’ Premium      Tiger to charge & retain an industry standard buyers’ premium of 15% from the sale of all assets



Inventory – Market Value    $534k to $1.102M
Estimate
Qualifications                 Expertise in The Sale of a Broad Range of Pharmaceutical and Plant Support Equipment           Page 7
                               Effective Liquidation Solutions Based on Decades of Experience
                               Professional and Transparent Process
                               Exceptional Attention to Detail & Unparalleled Diligence and Follow-through




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      Sale Strategy
      EVENT DRIVEN ONLINE ONLY PUBLIC AUCTION


      Tiger facilitates its auctions using an online and/or webcast platform. Both bidding models provide the following benefits:


      •   Opportunity to view assets onsite or online;
      •   Global exposure of the assets;
      •   Photographic representation of each lot;
      •   Recommended shippers / riggers for removal;
      •   Ability to submit bids prior to the auction;
      •   Ability to monitor bid activity and receive outbid notification;
      •   An environment in which real time bid competition occurs.

      Tiger’s Online Bidding Platform allows for the efficient and effective
      promotion and competitive bid sale of all asset types. Unlike many
      e-commerce exchange sites, Tiger’s sales are event driven and target
      marketed. This translates into more exposure, greater participation
      and maximized sale results.


      Regardless of sale method, inspections are held onsite. Tiger
      also offers inspections by appointment to make sure to accommodate
      serious buyers and their schedules. Further, to provide a successful
      buyer experience, Tiger manages all customer service issues
      in-house ensuring buyers are familiar with bidding procedures and
      all terms of sale.




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      Sale Marketing
      Tiger will custom craft a marketing plan, in cooperation with and subject to client approval, which
      incorporates some or all of the following marketing strategies, intended to reach an appropriate target
      audience.


      EMAIL / DIRECT MAIL
      Targeted to in-house lists and sourced lists of target asset users and dealers, as well as second tier
      opportunistic buyers, materials will include graphic rich emails and, when appropriate, direct mail.
      Distribution includes in-house lists, partner lists, seller lists and purchased lists to reach not only past
      buyers and prospects, but to identify current and new buyer targets. Emails are distributed 2-3 times prior
      to the sale.


      TRADE PUBLICATIONS – PRINT & ONLINE
      Trade publications, which include equipment marketplaces and industry association publications, provide a
      wealth of marketing opportunities, from classified postings, web banners and print ads to e-newsletters,
      blogs and email list sources. Tiger maintains subscriptions to numerous listing services onto which each
      sale is posted.   Further, Tiger’s in-house marketing team researches and enhances its list of target
      publications for each project, ensuring the most effective and target audience of prospects are reached.


      TELEMARKETING
      Every sale benefits from a telemarketing campaign targeted to the most crucial buyer audience for the
      sale’s success. While this often reaches those targeted through other marketing methods, the direct
      contact is an excellent customer service tool that ensures participation and an opportunity to answer buyer
      questions. Telemarketing efforts include both regular sale participants and top tier prospects identified for
      each sale.


      SOLDTIGER.COM
      Tiger’s website receives millions of visitors annually from our numerous sales, spanning many asset
      classes. These buyers frequent our website based on the ever-changing content and enhance the bidder
      pool for each sale.


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      Sale Marketing
      SOCIAL MEDIA
      Facebook and Linked in offer a number of marketing tools to assist in the promotion of sales. Beyond
      hosting a page on each site, our industry leading marketing team leverages highly targeted techniques
      to enhance page traffic and improve engagement, and regularly participates in marketing seminars to
      learn about the latest technologies.


      PAY PER CLICK
      Google and other search sites provide supplemental marketing exposure by paying for the right
      combination of keyword searches. Budgets are reviewed on a regular basis and adjusted as needed.
      To enhance effectiveness, Tiger uses such tools as ‘follow-me ads’ to ensure interested parties are
      reminded until the sale has concluded.


      PRESS RELEASES
      Press releases produce exposure in a number of ways, including local news media and online
      publications ranging from news sites to trade sites. This also provides an excellent opportunity
      for clients to ensure their desired story is the one promoted into the marketplace.


      CLIENT LINKS AND SUPPORT
      Certainly, client relationships can be an excellent tool for sourcing buyers. At the client’s option, we
      recommend any of the following: website links or banner ad and email distribution to client email lists.




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      Sale Terms
      •   Client shall provide sufficient access to the facilities where the assets are located at no charge to Tiger
          for the durations indicated, to allow for sale preparation and execution including lotting, buyer
          inspection and buyer removal.
      •   This bid is subject to the entering of a definitive Auction Services Agreement.
      •   Tiger shall offer the assets to buyers in “As-Is, Where-Is” condition, without representations.
      •   All assets shall be sold free and clear of all liens and encumbrances.
      •   Tiger shall have the right of abandonment of any unsold assets.
      •   Tiger shall require buyers to sign a terms of sale sheet, intended to protect stakeholders from
          abandonment, defaults, condition claims, etc.
      •   Tiger shall be authorized to surcharge auction participants an 15% buyers’ premium.
      •   Tiger shall be responsible to collect and remit any applicable sales tax.
      •   Tiger shall accept cash forms of payment.
      •   Tiger shall remit the net proceeds of sale to Client at regular intervals and provide detailed reporting,
          including:
               •   List of assets sold;
               •   Price of each asset sold, or purchase price allocation;
               •   Detail of costs incurred;
               •   Copies of marketing collateral;
               •   Net settlement statement.




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      Sample Sale Process / Timing

      Planning                               Marketing                                              Setup
      - Kickoff Meeting*                     -   Create Marketing Plan                              -   Organize & Tag Assets
      - Marketing Write-up                   -   Identify Target Audience*                          -   Clean & Prep Assets
      - Post Sale to Website(s)              -   Design Materials                                   -   Create Photo Catalog
      - Coordinate 3rd Party                 -   Write Press Release                                -   Craft Terms of Sale*
        Resources                            -   Book Trade Sites                                   -   Prepare Venue
      - Deploy Staff                         -   Post to Social Media




                                                              6 - 8 Weeks                                                         (Weekly Client Updates)




       Implementation                            Checkout                                     Reporting                                     Target Project
       -   Post Catalog Online                   -   Distribute Invoices                      - Provide Package Including:
       -   Print Catalogs for Onsite             -   Schedule Removals                          - Settlement Summary                         Completion:
       -
       -
           Staff Inspections
           Register Buyers
                                                 -
                                                 -
                                                     Qualify Resellers
                                                     Obtain Insurance Releases
                                                                                                - Sale Reports
                                                                                                - Expense Support
                                                                                                                                              May 2018
       -   Execute Sales                         -   Oversee Removal                            - Marketing Materials
       -   Buyer Collections                     -   Sell Remaining Assets                      - Proceed Distribution




                                                               2 - 4 Weeks                                                        (Weekly Client Updates)



      * To occur in collaboration with client or key company resources



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      Compensation and Estimated Market Values*
      FEE STRUCTURE

            Commission: Tiger shall charge a 0% seller’s commission.

            Sale & Marketing Expenses: Up to $40,000 passed on to Core Supplement Technology at actual cost and deducted from sale
            revenues to cover such costs as sale preparation labor, marketing and other incidental costs to prepare and conduct the sale. The
            following are not included in the sale expenses nor deemed to be Tiger’s responsibility: i) occupancy costs, ii) removal of hazardous
            materials, iii) restoration of facilities to any defined standard including removal of assets deemed unsellable and, therefore, abandoned.

            Buyers’ Premium: Tiger will charge and retain a 15% buyers’ premium from the sale of all assets.




      Estimated Market Values* = $534k to $1.102M


            Simpson Equipment List – Approx 501 items with a secondary market value of $375k to $750k

            Non-Simpson Equipment List – Approx 56 items with a secondary market value of $140k to $200k

            Leasehold Improvements - $0

            Accounts Receivable - Secondary market value $125k

            Bulk Packaging and Inventory - Secondary market value of $15k to $20k

            Life Brands Inventory - Secondary market value of $5k to $7k




                                                                                                         *Based on list as of 3-15-2018: Desktop Valuation Only




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      About Our Team
      TIGER GROUP

                                        Tiger Group provides advisory, valuation, disposition and auction services within a broad range of retail, wholesale,
                                        and industrial sectors. With over 40 years of experience and substantial financial backing, Tiger offers a nimble
                                        combination of expertise, innovation and financial resources to drive results. Tiger’s seasoned professionals help
                                        clients identify the underlying value of assets, monitor asset risk factors and, when needed, convert assets to
                                        capital, quickly and decisively. Tiger’s collaborative and no-nonsense approach is the foundation for its long-term
                                        ‘partner’ relationships and decades of uninterrupted success. Tiger maintains offices in New York, Boston,
                                        Los Angeles, Chicago, San Francisco and Sydney, Australia, and maintains consultants and operations staff
                                        throughout North America.

      Tiger Group’s Commercial & Industrial division has facilitated the disposition, through auction, sealed bid and direct sale of over $1 Billion of
      equipment and wholesale inventories for small businesses, insolvency professionals and such Fortune 500 companies as Broadcom, Sears, Apple
      Computer and ExxonMobil. Tiger’s strategic sale approaches, creative marketing practices and tremendous attention to detail are only surpassed by
      our customer service and dedication to achieving the highest and best result for our client. Tiger’s expertise ranges from technology assets and
      consumer product manufacturing equipment to industrial machinery, processing equipment, energy assets, heavy equipment and transportation
      equipment. We are dedicated to supporting our clients’ needs and have implemented sales ranging from $100,000 to over $1 billion dollars in assets.




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      About Our Team
      TIGER COMMERCIAL & INDUSTRIAL TEAM

                          Jeff Tanenbaum, CAI | Executive Managing Director
                          For more than 30 years, Jeff Tanenbaum has created, managed and implemented innovative asset disposition
                          solutions for financial institutions, insolvency professionals, Fortune 1000 companies and small businesses
                          throughout North America. During his career, he has conducted over 1,000 auction events while pioneering many
                          of the hybrid online/live auction technologies used today. In addition to driving multi-million dollar transactions of
                          machinery, equipment, inventories, and real estate, he facilitates the turnkey sale of complete, ongoing businesses.
                          Prior to joining Tiger in 2010, Tanenbaum served as both executive and auctioneer at two
                          national auction/liquidation firms. He studied business at the University of Southern California and is active in the
                          Industrial, National and Southern California Auctioneers Associations and the Certified Auctioneers Institute.



                          Chad Farrell | Managing Director
                          Chad Farrell has over 20 years of experience in operations and sales of surplus equipment, including seventeen years
                          of experience with online auctions and private sales. He has served as a consultant to a wide range of companies
                          regarding the disposition and procurement of surplus equipment worldwide. Chad has designed, managed and
                          executed over 200,000 online transactions for surplus equipment, including one of the largest internet auctions ever
                          completed - turbines sold for $25 million. Chad has sold more than $750M in surplus equipment. He has successfully
                          designed and managed surplus asset programs for BP, Chevron, ConocoPhillips, Shell, and other Fortune 1000
                          companies.




                          Michelle Salazar | Director of Business Development
                          Michelle Salazar works collaboratively with insolvency professionals, helping to match her clients’ needs for reliable
                          information and resources with Tiger’s asset intelligence and disposition solutions. Miss Salazar has almost two
                          decades of experience leading business development and marketing within the corporate restructuring industry, and
                          has held executive positions for firms involved in both Chapter 11 and Chapter 7 Bankruptcy Administration. Her
                          experience working amongst top insolvency professionals has provided her with a keen ability to not only introduce
                          appropriate Tiger services and team members to a given project, but to also facilitate effective introductions amongst
                          insolvency colleagues. Ms. Salazar is an active member of the American Bankruptcy Institute, she currently serves as
                          the Vice President for the Southern California Chapter of the Turnaround Management Association, and Global Board
                          Member of the Southern California Chapter for TMA NOW and Global TMA Board of Trustees. She holds a degree in
                          Political Science and Criminal Justice from Texas State University.
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      About Our Team
      TIGER COMMERCIAL & INDUSTRIAL TEAM


                          Jeremy Halford | Managing Director
                          Jeremy Halford is responsible for the operations and strategy of Tiger’s commercial and industrial division. This
                          responsibility includes the successful execution of asset dispositions, including orderly sales, public auctions and
                          sealed bid offerings of machinery, equipment, inventory and real property. He also works hand-in-hand with
                          Executive Managing Director Jeff Tanenbaum in charting the Commercial & Industrial Division’s strategic direction
                          and growth, developing strategic partnerships, and securing complex engagements. Halford offers Tiger’s clients
                          over 20 years of experience in restructuring, distressed debt investment and executive leadership within the
                          banking industry. Prior to joining Tiger he served as Vice President, Strategy and Capital Management at Union
                          Bank Corporation, Los Angeles. He began his career at Houlihan Lokey’s Financial Restructuring Group in Los
                          Angeles. Halford earned a Bachelor of Arts degree in Economics from Northwestern University in Evanston, Ill.


                          Wayne Hecht, CAI, GPPA | Field Operations Manager
                          In a career spanning 30 years, Wayne Hecht has established himself as a well-respected auctioneer and appraiser
                          with particular expertise in such varied asset categories as distribution, material handling, food processing, plastics,
                          aviation, a/v, manufacturing, and retail. A fourth-generation auctioneer, Hecht ran his own auction firm, Hecht Auction
                          Services, before joining Tiger. Hecht Auction Services provided bid calling, ringing, clerking, setup, and appraisals to a
                          wide clientele cover all commercial and industrial asset categories. Prior to Hecht Auction Services, he served in a
                          number of roles, including Project Management and Business Development to VP of Operations at such firms as
                          GoIndustry DoveBid and Rabin Brothers. He is also a licensed real estate salesman. Hecht is a member of the
                          National Auctioneers Association.




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